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10                           UNITED STATES DISTRICT COURT
11                         SOUTHERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                            Case No. 17-cr-03505-BAS-1
14                                     Plaintiff,
                                                          ORDER DENYING MOTION TO
15            v.                                          REDUCE SENTENCE PURSUANT
                                                          TO FIRST STEP ACT (ECF No. 74)
16   CARLOS FERNANDO DIAZ-DIAZ,
17                                   Defendant.
18
19            On May 2, 2018, this Court sentenced Mr. Pierson to 78 months in custody for
20   possession of child pornography. (ECF No. 68.) Mr. Pierson now seeks modification of
21   his sentence to time served in light of the risk he faces from COVID-19. (ECF No. 74
22   (“Defendant’s Motion”).) The Government opposes. (ECF No. 75 (“Government’s
23   Response”).) For the reasons stated below, the Court DENIES Mr. Pierson’s motion.
24   I.       BACKGROUND
25            Mr. Pierson is a 45-year-old self-employed computer graphic designer who began
26   creating pornographic animation from his home office. (ECF No. 54 (“PSR”) ¶ 12.) At
27   the time of his arrest, he had more than 600 images of child pornography on his computer,
28   including images depicting bondage and sadistic and masochistic conduct related to the

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 1   child victims. (PSR ¶ 31.) Mr. Pierson has a prior domestic violence conviction from
 2   2002. (PSR ¶ 49.)
 3         In 2016, Mr. Pierson was diagnosed with early stage fatty liver disease because of
 4   his alcohol abuse. (Defendant’s Motion, Exh. B.) However, since that diagnosis, there is
 5   no evidence that the condition has progressed in any way. His medical records do not
 6   indicate that he is currently receiving any medical treatment for this condition, nor does he
 7   appear to be exhibiting any adverse symptoms. (Id., Exhs. B and C.)
 8         Mr. Pierson has been housed at FCI Terminal Island, which had a severe outbreak
 9   of COVID-19. Since March of this year, the Bureau of Prisons (“BOP”) reported 595
10   inmates and 26 staff from FCI Terminal Island were diagnosed with COVID-19. BOP,
11   Covid-19 Cases, http://www.bop.gov/coronavirus (last visited Oct. 21, 2020). Ten inmates
12   died. Id. However, Terminal Island has made great strides in complying with CDC
13   recommendations for correctional facilities, and, as a result, the number of active cases has
14   drastically decreased. (See Defendant’s Motion, Exh. D; Government’s Response, Exh.
15   2.) Currently the BOP reports zero inmates and three staff with active cases of COVID-
16   19. BOP, Covid-19 Cases, http://www.bop.gov/coronavirus (last visited Oct. 21, 2020).
17   At the height of the outbreak, Mr. Pierson was diagnosed with COVID-19, although his
18   medical records indicate that he was asymptomatic. (Defendant’s Motion, Exhs. B and C.)
19   On June 26, 2020, Mr. Pierson requested compassionate release from the Warden at FCI
20   Terminal Island. (Defendant’s Motion, Exh. E.) The Warden denied that request on July
21   13, 2020. (Government’s Response, Exh. 1.) There is no evidence that Mr. Pierson
22   appealed that denial.
23   II.   ANALYSIS
24         Under 18 U.S.C. § 3582(c)(1)(A), a court may, in certain circumstances, modify or
25   reduce a defendant’s term of imprisonment, after he has exhausted his administrative
26   remedies, if “considering the factors set forth in [18 U.S.C.] section 3553(a),” the court
27   finds, as relevant here, that “extraordinary and compelling reasons warrant such a
28   reduction” and “such a reduction is consistent with applicable policy statements issued by

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 1   the Sentencing Commission.” United States v. Ng Lap Seng, 459 F. Supp. 3d 527, at *4
 2   (S.D.N.Y. 2020). As the movant, the defendant bears the burden to establish that he or she
 3   is eligible for a sentence reduction. United States v. Holden, 452 F. Supp. 3d 964, 969 (D.
 4   Or. 2020).
 5         A.     Exhaustion
 6         “Requiring inmates to exhaust their administrative remedies before seeking court
 7   intervention serves several purposes. First, it protects administrative agency authority by
 8   guaranteeing agencies the ‘opportunity to correct [their] own mistakes.’” Ng Lap Seng,
 9   459 F. Supp. 3d 527, at *6 (quoting Woodford v. Ngo, 548 U.S. 81, 89 (2006)). “Second,
10   it promotes efficiency since claims ‘generally can be resolved much more quickly and
11   economically in proceedings before an agency than in litigation in federal court.’” Id. This
12   Court agrees with the vast majority of courts in this circuit that have found such an
13   exhaustion to be mandatory. See, e.g., United States v. Stanard, No. CR 16-320-RSM,
14   2020 WL 1987072, at *4 (W.D. Wash. Apr. 27, 2020); United States v. Otero, No. 17-cr-
15   879-JAH, 2020 WL 1912216, at *3 (S.D. Cal. Apr. 20, 2020); United States v. Allison, No.
16   CR 16-5207-RBL, 2020 WL 1904047, at *2 (W.D. Wash. Apr. 17, 2020); United States v.
17   Fuller, No. CR 17-0324 JLR, 2020 WL 1847751, at *2 (W.D. Wash. Apr. 13, 2020);
18   United States .v Aguila, No. 2:16-0046-TLM, 2020 WL 1812159, at *1 (E.D. Cal. Apr. 9,
19   2020); United States v. Carver, No. 4:19-CR-06044-SMJ, 2020 WL 1604968, at *1 (E.D.
20   Wash. Apr. 1, 2020).
21         Section 3582 provides two alternative routes to exhaustion. In the first, a petitioner
22   files a petition, which is acted on by the Warden, and the petitioner proceeds to continue
23   to fully exhaust his or her administrative remedies by appealing this refusal from the
24   Warden. In the second, the Warden takes no action, 30 days lapse and, because of the
25   Warden’s failure to act, the petitioner may proceed without fully exhausting his or her
26   administrative remedies.
27         In this case, Mr. Pierson does not demonstrate that either of these routes has been
28   followed. Although he filed a petition, the Warden did act within 30 days, and Mr. Pierson

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 1   failed to appeal this refusal. Nonetheless, the Government may waive the administrative
 2   exhaustion requirements by asking the court to consider the substantive merits of a
 3   defendant’s motion. Ng Lap Seng, 459 F. Supp. 3d 527, at *6. The Government, in its
 4   Response, does not raise the issue of failure to exhaust administrative remedies and,
 5   instead, proceeds directly to the substantive issues. Therefore, the Court construes this as
 6   a waiver of the administrative exhaustion requirements.
 7         B.     Extraordinary and Compelling Reasons
 8         Defendant argues first that he has demonstrated extraordinary and compelling
 9   reasons for his release because he was diagnosed with early stage fatty liver disease in 2016
10   and because he suffers from anxiety. (Defendant’s Motion.) According to the Centers for
11   Disease Control (“CDC”), adults might be at increased risk for severe illness from the virus
12   that causes COVID-19 if they have chronic liver disease, especially cirrhosis. See CDC,
13   Coronavirus Disease 2019 (COVID-19), People with Certain Medical Conditions,
14   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
15   medical-conditions.html (last updated Oct. 16, 2020).
16         However, Mr. Pierson does not provide any evidence that he currently suffers from
17   chronic liver disease or cirrhosis. In fact, he provides no evidence that his condition has
18   progressed since 2016 in any way.           Presumably, post-arrest and certainly post-
19   incarceration, he has ceased the abuse of alcohol. And his medical records from his
20   incarceration do not reflect that he is currently receiving any treatment for liver problems
21   or any adverse consequences since his 2016 diagnosis.
22         Furthermore, Mr. Pierson has contracted and apparently recovered from COVID-19.
23   Courts have split on the issue of whether an individual who has recovered from COVID-
24   19 can still show extraordinary circumstances. In United States v. Molley, No. CR15-0254-
25   JCC, 2020 WL 3498482, at *2 (W.D. Wash. June 29, 2020), the court found “we do not
26   know to what degree or duration persons are protected against reinfection . . . following
27   recovery from COVID.” Id. (citing CDC, Clinical Questions About COVID-19: Questions
28   and Answers, http://www.cdc.gov/coronavirus/2019-ncov/hcp/faq.html (then last updated

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 1   June 4, 2020)). “People could be immune from reinfection entirely, partially, or not at all.”
 2   Id. (citing Paul Kellam & Wendy Barclay, The Dynamics of Humoral Responses Following
 3   SARS-Cov-2 Infection and the Potential for Reinfection, J. Gen. Virology (May 2020), at
 4   1; Erin Garcia de Jesus, New Data Suggests People Aren’t Getting Reinfected with the
 5   Coronavirus, Science News (May 19, 2020), http://www.sciencenews.org/article/
 6   coronavirus-COVID-19-reinfection-immune-response; Apoorva Mandavilli, You May
 7   Have Antibodies After Coronavirus Infection But Not For Long, N.Y. Times,
 8   https://www.nytimes.com/2020/06/18/health/coronavirus-antibodies.html           (then      last
 9   updated June 20, 2020)). Thus, the court concluded the possibility that a defendant might
10   get re-infected and, the next time around, suffer more severe consequences, was too
11   speculative to warrant relief. Id.
12         On the other hand, in United States v. Yellin, No. 3:15-cr-3181-BTM-1, 2020 WL
13   3488738, at *3 (S.D. Cal. June 26, 2020), the court concluded, “while Mr. Yellin’s medical
14   record states he recovered from COVID-19, the possibility of reinfection persists.” As the
15   court points out in Yellin, the medical evidence is still uncertain as to the effect of a
16   recovery on future infection. Ultimately, the court in Yellin concluded: “The Court does
17   not presume to have more information than the experts researching this virus. Without
18   scientific conclusions as to whether reinfection is possible or how long COVID-19
19   immunity lasts, the Court must err on the side of caution to avoid potentially lethal
20   consequences for Mr. Yellin.” Id.
21         As this Court pointed out in United States v. Armstrong, No. 18-cr-5107-BAS, 2020
22   WL 4366015, at *3 (S.D. Cal. July 30, 2020), the Court finds it particularly persuasive that
23   an inmate, being housed at the same facility as Mr. Pierson, was hospitalized and died after
24   he was pronounced “recovered” by the BOP. Whatever the reason for that situation, it
25   makes it clear that simply announcing that an inmate has “recovered,” does not mean that
26   Mr. Pierson is completely safe from the virus.
27         However, given the fact that the number of cases at Terminal Island now appears to
28   be under control, and that Mr. Pierson fails to demonstrate that he has any conditions that

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 1   might make contracting COVID-19 more severe for him, the Court agrees with the
 2   Government that Mr. Pierson has failed to demonstrate extraordinary and compelling
 3   circumstances for his early release.
 4          C.    The § 3553(a) Factors
 5          Additionally, the Court agrees with the Government that consideration of the §
 6   3553(a) factors in this case militate against granting compassionate release. The offense
 7   to which Mr. Pierson pled guilty was a serious one with real victims and real-life
 8   consequences. (See PSR ¶¶ 19–28.) The images included rape of a blind-folded one-year
 9   old and rapes of other prepubescent females. (PSR ¶¶ 6–7.) Releasing Mr. Pierson after
10   only 30 months in custody would create unwarranted disparities with other similarly
11   situated defendants. Therefore, considering all of the § 3553(a) factors, the Court finds
12   that reducing Mr. Pierson’s sentence would not be appropriate.
13   III.   CONCLUSION
14          Mr. Pierson has failed to demonstrate extraordinary and compelling circumstances
15   support his request for immediate release, nor do the § 3553(a) factors support such a
16   motion. Accordingly, the Court DENIES Mr. Pierson’s Motion to reduce his sentence.
17   (ECF No. 74.)
18          IT IS SO ORDERED.
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20   DATED: October 20, 2020
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